                       UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON

 In re                                                 19-31883-dwh11
                                          Case No.     19-31886-dwh11
  15005 NW Cornell LLC
  Vahan M. Dinihanian Jr.                   Amended

                                          SUMMARY OF ACCEPTANCES
 Debtor(s)                                AND REJECTIONS

Instructions to Filer: The summary must reflect all classes designated in the plan,
whether or not ballots were received in each class. If there are no votes in an impaired
class, you must be prepared to discuss cramdown as to that class at the confirmation
hearing.

              Impaired or          Total No. of       % of Dollar Amount     % of Number
 Class        Unimpaired*          Ballots Filed         Accepting**         Accepting**
*See Attached




*If any class is designated as unimpaired, explain on an attached sheet why the class is
unimpaired, or refer to the portion of the disclosure statement that provides that
explanation.

**Complete these percentages only if a class is impaired or there are any rejecting
ballots in an unimpaired class. The latter is required so the judge can determine the vote
outcome if the judge disagrees with your conclusion that the class is unimpaired. When
compiling the amount figures, use the allowed amount of each creditor's claim rather
than any amount shown on the ballot. If the class is unimpaired and there are no rejecting
ballots, enter "No rejecting ballots" in the last three columns of the form.



1181 (12/1/2019)                       Page 1 of 2

                   Case 19-31883-dwh11       Doc 414    Filed 09/03/21
This summary consists of         3         pages.

I certify under penalty of perjury that:

   •   this summary completely and accurately reflects all ballots received;
   •   the tabulations are correct to the best of my knowledge;
   •   all ballots received are separated and assembled by acceptances and rejections
       by class;
   •   I have retained the originals;
   •   I will provide copies upon written request;
   •   upon objection to the accuracy of this summary, I will introduce the originals at the
       hearing on the objection for possible admission to the official court record; and
   •   this summary was served on any creditors’ committee and the U.S. Trustee on the
       date below.

09/03/2021                                   /s/ Nicholas J. Henderson 074027
Date                                         Signature                   (OSB# if attorney)
                                             Nicholas J. Henderson
                                             Type or Print Signer’s Name




1181 (12/1/2019)                           Page 2 of 2

                    Case 19-31883-dwh11         Doc 414   Filed 09/03/21
In re: 15005 NW Cornell LLC
Bankr. Case No. 19‐31883‐dwh11; and
In re: Vahan M. Dinihanian Jr.
Bankr. Case No. 19‐31886‐dwh11
(Jointly Administered)

                                                                    Impaired or        Total No. of Ballots % of Dollar             % of Number
Class and Creditor Name                                             Unimpaired         Filed                Accepting               Accepting

Class 1
Tasha Teherani-Ami Claim Against Dinihanian                         Unimpaired                             0                  N/A                   N/A

Class 2
General Unsecured Claims Against 15005 NW Cornell                   Impaired*                              1                 100%                  100%

Class 3
Trust Claim Against 15005 NW Cornell                                Impaired*                              0                  N/A                   N/A

Class 4
Multnomah County Claim against Dinihanian                           Impaired                               0                  N/A                   N/A

Class 5
Tasha Teherani-Ami's Claim against 15005 NW Cornell                 Unimpaired                             0                  N/A                   N/A

Class 6
Bateman Seidel Claim Against Dinihanian                             Impaired                               1                 100%                  100%

Class 7
Lorenz Claim Against Dinihanian                                     Impaired                               1                 100%                  100%

Class 8
Columbia State Bank Claim Against Dinihanian (Equipment)            Unimpaired                             1                 100%                  100%

Class 9
Columbia State Bank Claim Against Dinihanian (Real Estate)          Impaired                               1                 100%                  100%

Class 10
Guaranty Claims Against Dinihanian                                  Impaired                               1                 100%                  100%

Class 11
General Unsecured Claims Against Dinihanian                         Impaired*                              0                  N/A                   N/A

Class 12
Interests of 15005 NW Cornell                                       Impaired                               1                 100%                  100%

Class 13
Dinihanian Interest in Property of the Estate                       Unimpaired                             1                 100%                  100%




* Ineligible Ballots

Ballots rejecting the Plan were submitted in Classes 2, 3 and 11. Debtors object to including these ballots on the following grounds:
1) Ballot submitted by Trust (Class 3). Ballot submitted after deadline; no claim has been allowed.
2) Ballot submitted by Lillian Logan (Class 11). No class indicated on ballot. No claim has been allowed.
3) Ballot submitted by Alexander LLC (Presumed to be Class 2). No class indicated on ballot. No allowed claim. Duplicative of other TIC owner
ballots.
4) Ballot submitted by Christiana LLC (Presumed to be Class 2). No class indicated on ballot. No allowed claim. Duplicative of other TIC owner
ballots.
5) Ballot submitted by Cornell Rd LLC (Presumed to be Class 2). No class indicated on ballot. No allowed claim. Duplicative of other TIC owner
ballots.

If Debtors' objection is overruled, the summary for classes 2, 3 and 11 would be as follows (assuming duplicative TIC ballots are counted once only):




Class 2
General Unsecured Claims Against 15005 NW Cornell                   Impaired                               4               63.70%                   50%

Class 3
Trust Claim Against 15005 NW Cornell                                Impaired*                              1                   0%                       0%

Class 11
General Unsecured Claims Against Dinihanian                         Impaired*                              1                   0%                       0%




                                                         Summary of Acceptances and Rejections ‐ Page 3


                                   Case 19-31883-dwh11                            Doc 414              Filed 09/03/21
